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                               UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

  UNITED STATES OF AMERICA                                 3:21-cr-00052-IM

                  v.                                       NOTICE OF PUBLICATION OF
                                                           CRIMINAL FORFEITURE
  JONATHAN AVILA-SUAREZ,

                  Defendant.


       The United States of America hereby files this notice of publication of forfeiture in

compliance with Rule 32.2(b)(6) of the Federal Rules of Criminal Procedure and 21 U.S.C.

' 853(n)(1), as more particularly set forth in the declaration of Paralegal Specialist, Mari

McDonald, marked as Exhibit A.

       DATED: May 22, 2023.                           Respectfully submitted,

                                                      NATALIE K. WIGHT
                                                      United States Attorney


                                                      /s/ Andrew T. Ho
                                                      ANDREW T. HO
                                                      Assistant United States Attorney

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